                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

    UNITED STATES OF AMERICA,

                        Plaintiff,                               4:19-CR-3094

    vs.                                                MEMORANDUM AND ORDER

    JONATHAN MANZI,

                        Defendant.


          The defendant has moved for reconsideration (filing 108) of the Court's
previous order (filing 98) adopting the Magistrate Judge's findings and
recommendation (filing 82), overruling his objection (filing 87) to the findings
and recommendation, and denying his motion to dismiss (filing 31). And the
defendant       objects    (filing   128)   to   the    Magistrate     Judge's     findings,
recommendation, and order (filing 124) recommending that his motion to
reconsider be denied.1
          The defendant also filed a motion styled as a "Motion for Relief from
Invasion of the Attorney-Client Privilege" (filing 34) which the Magistrate
Judge also recommended (filing 124) be denied. The defendant has objected
(filing 130) to those findings and recommendation as well.
          The defendant's motions present the Court with mixed standards of
review. A magistrate judge's findings and recommendation on a motion to


1   The Court notes that the defendant filed reply briefs in support of each objection—filing
146; filing 147—despite the Court's local rules clearly providing that an "objecting party may
not file a reply brief without the court's leave." NECrimR 59.2(a). The Court has considered
those briefs in this instance, but counsel is admonished to be more mindful of the Court's
rules going forward.
suppress evidence or dismiss an indictment are reviewed de novo. See 28 U.S.C.
§ 636(b)(1)(A) & (B); United States v. Raddatz, 100 S. Ct. 2406, 2411 (1980).
Non-dispositive pretrial matters, on the other hand—such as discovery
rulings—are reconsidered only where the magistrate judge's order is clearly
erroneous or contrary to law. See § 636(b)(1)(A); Gomez v. United States, 109
S. Ct. 2237, 2246 (1989).
      Here, the defendant's motion to reconsider asks the Court to suppress
evidence obtained pursuant to a search warrant or, in the alternative, direct
the government to complete a two-step relevance review of the materials
obtained. See filing 122 at 5. Similarly, his motion for relief asks the Court to
dismiss the case or, in the alternative, enter remedial discovery orders. See
filing 34 at 3. The Court obviously reviews de novo the Magistrate Judge's
refusal to recommend suppression of evidence or dismissal of the case. But to
the extent the defendant is asking the Court to review the Magistrate Judge's
consideration of remedial measures to resolve the parties' ongoing disputes
over the fruits of this search warrant, the Court considers whether the
Magistrate Judge's actions were clearly erroneous or contrary to law.
      The Court has little to add to the Magistrate Judge's well-reasoned
discussion of the defendant's motion to reconsider. Filing 124 at 4-7. The
defendant's reply brief asserts that the dispute "boils down to [a] single issue:
What remedy, if any, should be ordered where there is no evidence that the
government will comply with an obligation that the government concedes it
has?" Filing 147 at 1. The question contradicts its own premise: the evidence
the government will comply with its obligation is that the government admits
the obligation and says it will comply. See filing 138 at 8-9. The defendant
implicitly concedes that the government cannot conduct a relevancy review
until the privilege review is complete. See filing 147 at 2. And there is



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absolutely no point to "hold[ing] that the Search Warrant actually requires a
separation of relevant from irrelevant material" and "order[ing] that once the
attorney-client privilege issue is resolved, the government must perform that
separation with reasonable dispatch[,]" filing 147 at 3, when so far as the Court
can tell, the government already agrees that the search warrant—a court
order—requires that.2 The Magistrate Judge's refusal to provide such a remedy
was neither clearly erroneous nor contrary to law.
         Similarly, the Court finds nothing clearly erroneous or contrary to law
in the Magistrate Judge's resolution of the defendant's motion for relief.3 The
defendant raises two primary issues with the government's conduct of the
privilege review—the first is that the process the government used to initially
triage privileged documents was, according to the defendant, flawed. See filing
130 at 9-11. What's less clear is what the defendant wants the Court to actually
do about it.
         To begin with, the defendant asks the Court to "enter a finding explicitly
determining that the government's process was ineffective." Filing 130 at 10.


2   The Court also notes, as did the Magistrate Judge, a distinct lack of authority for the
proposition that suppression of all the seized evidence would be required even if the
government eventually failed to faithfully discharge its obligation. Flagrant disregard for the
limitations of a search warrant might require suppression of all evidence seized during the
search—but "only where the government exceeds the scope of the authorized search in terms
of the places searched, and not cases to in which the government indulges in excessive
seizures." United States v. Decker, 956 F.2d 773, 779 (8th Cir. 1992); see United States v.
Tenerelli, 614 F.3d 764, 771 (8th Cir. 2010). When items are unlawfully seized but the places
searched don't exceed the limits of the warrant, there's no requirement that lawfully seized
evidence be suppressed. Id.

3   So far as the Court can tell, the defendant appears to have abandoned his claim that the
case should be dismissed, at least in his objection. See filing 130 at 15; filing 146 at 4.


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To what end? To be clear: the Magistrate Judge found that none of the
documents reviewed to date by the government's investigative team were
privileged, filing 124 at 10, and nothing in the defendant's objection takes issue
with that finding, see filing 130.4 Honestly, so long as privileged material is
actually kept from the investigative team, it doesn't matter whether the
government's process for accomplishing that is effective, ineffective, or
somewhere in between: what matters is the result. In the meantime, the
government presumably understands the risks of mistakes in the privilege
review, and the Court kibitzing would be neither appropriate nor helpful.
         Nor is the Court persuaded that the defendant has proven what he
thinks by showing that some privileged material was initially marked
"unprivileged": the investigative team hasn't actually viewed the disputed
material finally released by the filter team, pending resolution of the
defendant's objections to some of that material. This is an adversarial
proceeding, after all—the fact that the defendant has pointed out alleged errors
in the government's position is evidence the adversarial process is working.
         But the defendant also complains about having to take a laboring oar in
that process. Filing 130 at 13-15. The Court has little sympathy for the
defendant in that regard: there is nothing erroneous at all, much less clearly
erroneous, about asking the defendant to review his own correspondence to
assert his own privilege claims. It is, after all, the burden of a party asserting



4   The defendant does assert, in a footnote, that the forwarding of certain emails "did not
deprive them of their privileged status" even though the Magistrate Judge concluded to the
contrary. Filing 130 at 8 n.8. He also asserts that "[t]his Court will need to make its own
determination of that proposition"—but, apparently, without the benefit of the defendant
actually explaining why he believes the Magistrate Judge's conclusion was incorrect. See
filing 130 at 8 n.8. The Magistrate Judge's finding was correct; period—full stop.


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a privilege to show that the privilege applies. United States v. Ivers, 967 F.3d
709, 715 (8th Cir. 2020), cert. denied, No. 20-7304, 2021 WL 2302015 (U.S.
June 7, 2021) (citing Bouschor v. United States, 316 F.2d 451, 456 (8th Cir.
1963)). It is, again, not clear what the defendant wants, just what he doesn't:
he says that "[t]he government should be ordered to conduct a screening
process, in collaboration with the defense, that will be effective" but doesn't
describe what that collaboration would look like, except that it wouldn't look
like what was actually ordered. The Court is not persuaded by the defendant's
passive-aggressive approach to resolving these issues.5
         The defendant's second primary objection is that, somehow, the
government's investigation has been tainted because a member of the filter
team was exposed to privileged materials before identifying 201 pages of
evidence as unprivileged. Filing 130 at 11. As the government points out, the
filter team agent simply identified unprivileged documents and forwarded
them to the investigative team. Filing 142 at 5-6. The defendant complains
that the government "simply misses the point" of the defendant's objection.
Filing 146 at 2. Well, apparently so does the Court.
         The defendant appears to be seriously complaining about the fact that a
member of the filter team was exposed to privileged material before identifying
other material as unprivileged—which, in short, describes the job of the filter
team. The defendant does not explain how a member of the filter team should



5   Whether the defendant should be afforded 35 days, 90 days, or any other number of days to
complete its part of the process is a question for the Magistrate Judge in the first instance.
But the Court is not persuaded that "confining [the defendant] to 35 days, without the aid of
the government’s resources, places an extreme and unnecessary burden on him." Filing 130
at 15. It is, after all, his correspondence, which he's presumably known about (and had the
ability to review) all along.


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be expected to distinguish privileged from unprivileged material without
actually seeing the privileged material.
      In sum, the Court finds no merit to any of the defendant's objections.
Accordingly,


      IT IS ORDERED:


      1.    The Magistrate Judge's findings and recommendation (filing
            124) are adopted.


      2.    The defendant's objections (filing 128; filing 130) are
            overruled.


      3.    The defendant's motion for relief (filing 34) is denied.


      4.    The defendant's motion to reconsider (filing 108) is denied.


      Dated this 29th day of July, 2021.


                                            BY THE COURT:


                                            John M. Gerrard
                                            United States District Judge




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